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 1   DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
 2   117 J Street, Suite 202
     Sacramento, California 95814
 3   916-447-1193
 4   Attorney for Defendant
     PRASERT SOMSINSAWASDI
 5
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,       )
10                                   )               NO. CR.S-06-343 DFL
                Plaintiff,           )
11                                   )
          v.                         )               STIPULATION AND
12                                   )               PROPOSED ORDER
     PRASERT SOMSINSAWASDI, et al.   )
13                                   )
                Defendant.           )
14   ________________________________)
15
           If agreed to by the court, Defendant, through counsel, and the United States of
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     America, through Assistant U.S. Benjamin Wagner, agree to substitute the $185,000
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     appearance bond secured by a deed against the real property of Aranya Poolsaad, located at
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     1681 Jademoon Lane, Beaumont, CA with an appearance bond secured by deed against
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     Sisouk Soukasene and La Soukasene’s real property located at 6705 50th Street, Sacramento,
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     CA. Ms. Poolsaad’s property secures a portion of the total appearance bond of $750,000 as
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     to defendant Prasert Somsinsawasdi. The equity for Mr. and Ms. Soukasene’s property is
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     approximately $50,000 as reflected in the title search and appraisal. The other four real
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     properties which have been previously posted to secure other portions of the $750,000 bond
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     remain in place and would not be effected by this proposed order.
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             Case 2:06-cr-00343-JAM Document 128 Filed 06/07/07 Page 2 of 2


 1   Respectfully submitted,
 2
 3   DATED: May 31, 2007                            __/s/Dwight M. Samuel__
                                                    DWIGHT M. SAMUEL
 4                                                  Attorney for Defendant
                                                    Prasert Somsinsawasdi
 5
 6
 7   DATED: May 31, 2007                            ___/s/BenjaminWagner_____
                                                    BENJAMIN B. WAGNER
 8                                                  Assistant United States Attorney
                                                    (Signed per telephonic authorization)
 9
10
     IT IS SO ORDERED.
11
           DATED: June 6, 2007
12
                                                    /s/ David F. Levi
13                                                  Honorable David F. Levi
                                                    United States District Judge
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